             THE UNITED STATES DISTRICT COURT
        FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                     ASHEVILLE DIVISION
           CRIMINAL CASE NO. 2:13-cr-00012-MR-DLH-1


UNITED STATES OF AMERICA,       )
                                )
                   Plaintiff,   )
                                )
         vs.                    )                          ORDER
                                )
JACKIE LEE RATTLER,             )
                                )
                   Defendant.   )
_______________________________ )


     THIS MATTER is before the Court on the Defendant’s Motion to Alter

or Amend Judgment [Doc. 282].

     The Defendant seeks reconsideration of the Court’s December 15,

2016, Order denying his motion for the production of various court

documents, including his Presentence Report. Upon careful review, the

Court finds no basis in law to reconsider its prior Order. Accordingly, the

Defendant’s motion for reconsideration is denied.

     IT IS, THEREFORE, ORDERED that the Defendant’s Motion to Alter

or Amend Judgment [Doc. 282] is DENIED.
                               Signed: January 12, 2017
     IT IS SO ORDERED.




   Case 2:13-cr-00012-MR-WCM    Document 283          Filed 01/12/17   Page 1 of 1
